       2:17-cr-20037-JES-JEH # 107         Page 1 of 16                                        E-FILED
                                                                   Friday, 24 August, 2018 05:30:18 PM
                                                                           Clerk, U.S. District Court, ILCD


                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )       Hearing Requested
                                          )
       Defendant.                         )

      MOTION TO STRIKE “SUBSTANTIAL PLANNING AND PREMEDITATION”
                      AS AN AGGRAVATING FACTOR

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and for his Motion to Strike “Substantial Planning and Premeditation” as an

aggravating factor in this cause states as follows:

I.     The Aggravating Factor “Substantial Planning and Premeditation” is
       Unconstitutionally Vague and Overbroad

       The aggravating circumstance of “substantial planning and premeditation,” 18

U.S.C. §3592(c)(9), is so broad as to apply to virtually all premeditated killings. It must

be stricken for three reasons. First, evidence of “planning and premeditation” by itself is

patently inadequate to narrow the class of murders eligible for the death penalty, since

almost every murder involves some planning and premeditation. Second, the

modifying phrase “substantial” does not cure this situation, for, even as it has been

construed by the federal courts, it “fails adequately to inform juries what they must find


                                              1
       2:17-cr-20037-JES-JEH # 107           Page 2 of 16



to impose the death penalty.” Maynard v. Cartwright, 486 U.S. 356, 361-62 (1988). Third,

the federal courts have been unable to fashion a construction of “substantial” for this

factor that would be both narrowing and specific. In spite of previous federal cases

upholding the constitutionality of this factor, neither the Supreme Court nor the

Seventh Circuit have ever ruled on the issue. Based on the following argument, this

Court should strike this aggravating factor from the Government’s Notice of Intent.

       A. Substantial Planning and Premeditation Does Not Genuinely Narrow the
          Class of Murders Subject to the Death Penalty

       A statutory aggravating factor must genuinely narrow the class of murders

which may be subject to the death penalty. Zant v. Stephens, 462 U.S. 862, 877 (1983);

Godfrey v. Georgia, 446 at 428-29 (1980). That is, it must be a factor that is not present in

“almost every murder.” Godfrey, 446 U.S. at 428-29. The concepts of “planning and

premeditation,” however, are part of every intentional murder; they do not genuinely

narrow the class of murders subject to the death penalty. All that planning means is

“carrying out plans,” and a plan can be just a “method for achieving an end.”1

Accordingly, any murder that has a “method,” which is to say virtually every one, is

“planned.”

       The term “premeditation” provides no greater limitation. Premeditation, of course,

was a part of first-degree murder at common law and remains so under federal law. See

18 U.S.C. § 1111. In its capacity as a common-law element, it required little if anything


1
 https://www.merriam-webster.com/dictionary/planning; https://www.merriam-
webster.com/dictionary/plan (last visited 8/3/2018)
                                                2
          2:17-cr-20037-JES-JEH # 107             Page 3 of 16



more than the decision to kill. See 2 W. LAFAVE & A. SCOTT, SUBSTANTIVE

CRIMINAL LAW § 7.7, at 237 (1986) (“often said that premeditation and deliberation

require only a ‘brief moment of thought’ or a ‘matter of seconds’”). Even in common

usage, “premeditate” means simply “to think on and revolve in the mind beforehand,”2

and virtually every murderer “thinks on” his crime before committing it; otherwise, it

would not be murder. Thus, these terms do not perform the constitutionally required

function of narrowing the class of murderers subject to the death penalty. See United

States v. Spivey, 958 F. Supp. 1523, 1531 (D.N.M. 1997) (“virtually all murders require some

planning and premeditation”).3

          Perhaps the best evidence that the substantial-planning aggravator can apply to

virtually all murders and, hence, does not sufficiently limit the class of murderers eligible

for death, comes from the United States Department of Justice. As of November 3, 2015,

the Attorney General had authorized the government to seek the death penalty against

498 defendants. The Federal Death Penalty Resource Counsel has compiled most of the

Notices of Intent filed in federal capital cases since 1988; of the NOIs that were filed, 430

alleged the statutory aggravating factor of substantial planning and premeditation.4




2
    https://www.merriam-webster.com/dictionary/premeditate (last visited 8/3/2018)

3
  Spivey ultimately held, following United States v. Tipton, 90 F.3d 861, 896 (4th Cir. 1996), that the word
“substantial” adequately performed the narrowing function. As shown below, this conclusion is incorrect.

4
 https://fdprc.capdefnet.org/doj-activity/authorization-statistics, “Aggravators Alleged in Federal Death
Penalty Cases (November 2015)” (last visited 8/3/2018)
                                                     3
       2:17-cr-20037-JES-JEH # 107         Page 4 of 16



The government has alleged the aggravating circumstance of “substantial planning and

premeditation” in 86.3% (430 out of 498) of those cases. This percentage compellingly

suggests that this aggravator performs no channeling or limiting function whatsoever.

       B. The Word “Substantial” Does Not Adequately Narrow the Class of
          Murderers Subject to the Death Penalty

       Because the terms “planning and premeditation” by themselves do nothing to

narrow the class of all murders, this aggravating factor must be stricken unless the

word “substantially” adequately narrows their meaning in a way that actually

“channel[s] the sentencer’s discretion by clear and objective standards that provide

specific and detailed guidance, and that make rationally reviewable the process for

imposing a sentence of death.” Arave v. Creech, 507 U.S. 463, 469 (1993) (quoting Lewis v.

Jeffers, 497 U.S. 764, 774 (1990); Godfrey, 446 U.S. at 428). The word “substantial” is not up

to the task. On the contrary, it provides no guidance to a court or a jury as to “how much”

or “what kind of” “planning and premeditation” are necessary to rise to the level

“substantial.” The word gives a questioning juror no clue as to how complicated a plan

the defendant must have formulated before committing the offense or how long he must

have thought about the crime before committing it. Accordingly, some jurors may

require a defendant to have employed some detailed blueprint or complicated scheme

prior to the killing; others, however, may find “substantial” planning and

premeditation in the mere removal of a letter opener from a desk drawer prior to a

stabbing. The lack of any “clear,” “objective,” and “specific” guidance to jurors permits

the imposition of the death penalty in an arbitrary way.
                                              4
       2:17-cr-20037-JES-JEH # 107         Page 5 of 16



   For this reason, the Supreme Court of Georgia has held the word “substantial” is

unconstitutionally vague in circumstances precisely similar to these. See Arnold v. State, 224

S.E.2d 386, 392 (Ga. 1976). Georgia had an aggravating factor making anyone with a

“substantial criminal history” eligible for the death penalty. Id. The Court held that the

word “substantial,” which it read to mean “of real . . . importance,” was

unconstitutionally vague because its application was “highly subjective.” Id.; see also

Creech, 507 U.S. at 469 (standards must be “objective”). The court noted that the word

“substantial” might be sufficiently clear in other contexts, but that “the fact that we are

here concerned with the imposition of a death sentence compels a different result.”

Arnold, 224 S.E.2d at 392. This, too, is a death penalty case, and the word “substantial” here

is no less “subjective” in application than it was in Arnold. Accordingly, this

aggravating factor must be stricken.

       C. Decisions Upholding this Aggravating Factor Demonstrate its
          Unconstitutionality

       The courts which have upheld the constitutionality of this statutory aggravator

have construed “substantial” in a way that in fact fails to narrow the application of the

term as required by the Eighth Amendment. See, e.g., United States v. Flores, 63 F.3d 1342,

1374 (5th Cir. 1995). Moreover, these courts have also shown that, even as they attempt to

construe the term, the word “substantial” is unconstitutionally vague. Accordingly,

even as construed, the term “substantial planning and premeditation” violates the Fifth

and Eighth Amendments. In United States v. McCullah, 76 F.3d 1087, 1110 (10th Cir.


                                              5
        2:17-cr-20037-JES-JEH # 107             Page 6 of 16



1996), for example, the court upheld this aggravating factor on the ground that

“substantial” means simply “ample for commission of the crime;” ample, of course,

means anything “more than adequate.” And the Fourth Circuit, in Tipton, 90 F.3d at 896,

agreed, holding that “substantial” meant only “more than the minimum amount sufficient

to commit the offense.”5 Under these constructions of “substantial,” any murder, other

than one undertaken with the “minimum” possible planning and premeditation, would

be subject to the death penalty.

        This interpretation simply cannot be constitutional. Indeed, this interpretation of

“substantial” would permit jurors to impose the death penalty for an amount of

planning and premeditation that barely exceeds what is essential to commit a homicide

at all, indeed for an amount present in “almost every murder.” Godfrey at 428-29. Since

the word substantial can be applied in this impermissible way, and has been so applied,

by the court in Tipton, 90 F.3d at 895, it violates the Eighth Amendment, and this Court

must strike this aggravating factor.

        In addition, the limits of the word “substantial” are so vague that it is likely to be

applied with great inconsistency and arbitrariness. The Fifth Circuit, in Flores, 63 F.3d

at1374, held that “substantial” denotes “a thing of high magnitude” and “the term alone,

without further explanation, [is] sufficient to convey that meaning and to enable the




5
 Tipton and McCullah also used the word “considerable,” which Tipton explained means “more than
merely adequate,” as a synonym for “substantial.” Tipton, 90 F.3d at 896; McCullah, 76 F.3d at 1111.
Since this term is the equivalent of “ample” and “more than the minimum amount sufficient,” we deal
with those phrases.
                                                   6
        2:17-cr-20037-JES-JEH # 107               Page 7 of 16



jury to make an objective assessment.” The construction of the word “substantial” in

Flores and other federal cases leaves it entirely to the discretion of jurors to decide what

the “minimum” amount of planning and premeditation for a murder is. (A matter of

which the average juror will have absolutely no knowledge.)

        It also leaves entirely to the jurors the determination of how much more than this

minimum is necessary to rise to a “substantial” level. Some juries will doubtless feel, like

the Fourth Circuit, that anything more than the absolute minimum will permit a verdict

of death; others may require truly careful and complex planning and lengthy

forethought before death will be imposed. Nothing in the word, however, says which of

these interpretations would be correct. The Eighth Amendment requires that an

aggravating factor properly “channel” the jurors’ discretion. This factor simply does not.

This vagueness is further demonstrated by the fact that the standard the courts have

established deviates widely from the common usages of the word “substantial.” The

Supreme Court itself has noted that the meaning of a “substantial” amount of something

is “a large degree” of that thing. Victor v. Nebraska, 511 U.S. 1, 19 (1994).6 But it is not

ordinary or natural usage to call any amount of something, even an amount barely

above the minimum, a “large degree” of that thing. Indeed, amounts close to the

minimum would most plausibly be called a “small degree.” Moreover, the standard



 6
   The word “substantial” also has an inherent ambiguity, since it can mean simply “something that
 exists.” Victor, 511 U.S. at 19. Tthe courts to have considered the matter have concluded that that
 definition does not apply to the aggravating factor here, see, e.g., Tipton, 90 F.3d at 895, although a
 juror might assume that it did.

                                                     7
        2:17-cr-20037-JES-JEH # 107               Page 8 of 16



adopted by cases such as Tipton is quite similar to “more than minimal planning” under

the Sentencing Guidelines. See U.S.S.G. § 1B1.1(f) (“More than minimal planning” is

“more planning than is typical for commission of the offense in a simple form”). But this

is a dilution of the word “substantial,” for “substantial” plainly means a greater amount

than does “more than minimal.” See McCarthy v. Manson, 554 F. Supp. 1275, 1306 (D. Conn.

1982) (prejudice “while not substantial” was, nevertheless, “more than minimal”).

        It seems clear that the word “substantial” must mean something more substantial

than such words as “more than the minimum amount sufficient,” “ample,” “minimal,” or

“more than minimal,” but how far above has not, and cannot, be described in clear terms.

The very inability of the courts to fashion a specific constitutional definition of this factor

shows that its meaning remains a “highly subjective” matter for each juror, Arnold, 224

S.E.2d at 392, and that it is unconstitutionally vague.7

        Some states with similar aggravating factors have construed them in a way that

does much to eliminate this vagueness. In Florida, for example, the state supreme court,

when faced with an aggravating factor requiring “cold, calculated, and premeditated”

actions by a defendant, held the factor unconstitutionally vague on its face. Jackson v.

State, 648 So. 2d 85, 87 (Fla. 1994). The court required that, in the future, juries be told

that they must determine that “the killing was the product of cool and calm reflection”




 7
    One case has, without much discussion, held this factor constitutional because there is a “common
 sense core” of meaning to “substantial.” McVeigh, 944 F. Supp. at 1490. But this is not so. It is belied in
 the first place by the inability of courts to say what that core is.

                                                     8
       2:17-cr-20037-JES-JEH # 107         Page 9 of 16



and “that the defendant had a careful plan or prearranged design to commit murder

before the fatal incident.” Id. at 89. But Congress has not limited the word “substantial”

in the aggravator in the FDPA in any way, or indicated how it would do so. Accordingly,

this Court may not provide a limiting construction for it.

       It is no answer for the government to say that the word “substantial” has been

held not to be vague in other contexts. The Georgia Supreme Court in Arnold, supra,

explained one reason why: “[T]he fact that we are here concerned with the imposition of

a death sentence compels a different result.” 224 S.E.2d at 392; see also Harmelin v.

Michigan, 501 U.S. 957, 994 (1991) (Scalia, J.) (noting “several respects in which we have

held that ‘death is different,’ and have imposed protections that the Constitution

nowhere else provides”). A second reason is that the Eighth Amendment requires the

word “substantial” to perform a constitutionally required “narrowing” function not

present in noncapital cases. Thus, because the word “substantial” must perform different,

and constitutionally more significant, functions in a capital case than it does in noncapital

cases, which do not take into account Eighth Amendment interests, noncapital cases

cannot govern here.

       The Eighth Amendment interests in this case require both that the concept of

“plann[ed] and premeditated” be limited, to narrow the class of death-eligible murders,

and that it be limited in a clear, specific, objective way. Simply tacking the word

“substantial” on to the phrase does neither and this aggravating factor, accordingly,

violates the Fifth and Eighth Amendments.

                                              9
         2:17-cr-20037-JES-JEH # 107        Page 10 of 16



      For the foregoing reasons, this Court should strike the “substantial planning and

premeditation” as a statutory aggravating factor from the government’s Notice of Intent

to Seek a Sentence of Death.

II.      The Government Cannot, Even as a Preliminary Matter, Meet the Burden of
         Proof Required to Substantiate the Aggravating Factor.

         “The ‘substantial planning and premeditation’ aggravator expresses a legislative

determination that ‘this [type of] murder is different.’” United States v. Roman, 371 F.

Supp. 2d 36, 46 (D.P.R. 2005) (citing United States v. Sampson, 335 F. Supp. 2d 166, 209

(D. Mass. 2004)). “In order to cabin the aggravator within constitutional limits, the case

law consistently anchors the ‘substantial planning and premeditation’ to the murder

and not merely to the underlying federal offense.” Id. The government must prove both

substantial planning and substantial premeditation. Id. (citing Tipton, 90 F.3d at 896 n.

17).

         In order to determine whether there is sufficient evidence for a rational jury to

find an aggravating factor beyond a reasonable doubt, this Court must, after viewing

the evidence in a light most favorable to the government, decide whether any rational

trier of fact could have found the existence of the aggravating circumstance beyond a

reasonable doubt. United States v. Bernard, 299 F.3d 467, 481 (5th Cir. 2002).

         The government’s Notice, which tracks the language of 18 U.S.C. § 3592(c)(9),

alleges that Mr. Christensen killed Y.Z. “after substantial planning and premeditation to

cause the death of a person.” (R. 54) Clearly, the Notice alleges that the “substantial


                                              10
       2:17-cr-20037-JES-JEH # 107        Page 11 of 16



planning and premeditation” apply to the murder of Y.Z. and not to her kidnapping.

This is the proper construction of this aggravating factor. See United States v. Webster,

162 F.3d 308, 325 (5th Cir. 1998)(“Webster argues, and the government concedes, that,

by allowing the jury to consider premeditation with respect to the kidnaping and not

just the murder, the court improperly charged the jury on the statutory aggravating factor

of whether Webster engaged in ‘substantial planning and premeditation’ of the

offense…The statute requires a finding that ‘the defendant committed the offense after

substantial planning and premeditation to cause the death of a person,’ § 3592(c)(9),

obviously directing the premeditation to causing death and not to mere commission of

the offense when the two diverge.”); Sampson, 335 F. Supp. 2d at 209 (“The substantial

planning and premeditation aggravating factor focuses on the intention to cause death,

not on the broader offense, which in this case was carjacking resulting in death. The

government must prove both substantial planning and substantial premeditation.”).

       In Roman, the district court struck the substantial planning and premeditation

aggravating factor from the government’s notice of intent because there was insufficient

evidence to support that the defendants engaged in any planning to specifically kill the

victim in that case:

              The government’s only evidence in support of planning is
              that defendants brought their weapons, submitting that it
              would be reasonable to infer that there was a pre- formed
              intention to kill from the possession of the weapons. The
              Court agrees that it is reasonable to infer a pre-formed
              intention to kill from the evidence. However, for the
              “substantial planning” aggravator to apply there must be a

                                             11
      2:17-cr-20037-JES-JEH # 107         Page 12 of 16



              considerable amount of planning directed at accomplishing
              the murder of the victim, not just planning to commit armed
              robbery. See Sampson, 335 F. Supp. 2d at 210. There must be a
              showing of substantial or elaborate planning before the
              defendant sets out for the crime scene. Id. at 212. Here, there
              was simply no evidence presented at trial that the
              defendants engaged in any planning to kill Mr. Rodriguez-
              Cabrera and the government made no proffer of other
              information. Although much evidence was adduced
              regarding the modus operandi of other robberies and the
              design of this one, which included a carjacking and the
              subsequent burning of the getaway vehicle, none of that
              evidence was pertinent to defendant’s plans to commit
              murder. Contrary to the government’s assertion, the
              possession of a weapon is not alone enough to infer a
              substantial plan to commit the murder of a specific person.

Roman, 371 F. Supp. 2d at 47.

       In the present case, as Roman, the government specifically alleged in its Notice of

Intent that Mr. Christensen killed Y.Z. after substantial planning and premeditation “to

cause the death of a person.” As a consequence, there must be evidence that the

Defendant’s planning and premeditation was directed specifically to cause a death, not

to commit a kidnapping.

       It is clear from the government’s assertions in pleadings as well as the discovery

that has been provided that Mr. Christensen did not plan, substantially or otherwise, to

commit a murder. The only factual basis the government has offered in support of this

aggravating factor is that Mr. Christensen (1) performed internet searches for

information relating to serial killers, and (2) visited a website known as FetLife, a social

media site for individuals with what might be colloquially described as “kinky”


                                             12
       2:17-cr-20037-JES-JEH # 107         Page 13 of 16



interests. As discussed in detail in the Motion to Dismiss Count One Due to Lack of

Jurisdiction, pp. 14-26, the search for generic information on serial killers is

indistinguishable from the behavior of millions of other Americans who happen to

explore a passing interest in a common topic of fascination, and in no way evidences a

“plan” to commit murder. Additionally, Mr. Christensen’s membership on FetLife.com

was limited to a few logins and a single conversation with a woman about a consensual

abduction fantasy. Mr. Christensen even put emphasis on signing a consent form such

that no one could possibly misconstrue the voluntary nature of the encounter, which

never in fact occurred. The government’s continued emphasis on “abduction research”

is overblown, hyperbolic, and misrepresentative of the facts. And, once again, has no

probative value regarding any kind of a plan to commit a homicide.

       The intention to kidnap a person is not relevant to establish the existence of this

aggravator. The substantial planning and premeditation must be to the murder. The

government’s factual basis simply does not meet this standard.

       A comparison of this case to other federal cases where sufficient evidence was

found to support the “substantial planning and premeditation” aggravating factor,

demonstrates that the government’s alleged factual basis here simply does not support

this aggravator. In United States v. Barnette, 390 F.2d 775, 802-03 (4th Cir. 2004), the Fourth

Circuit Court of Appeals found that there was sufficient evidence to support the finding

of this aggravating factor by the jury:



                                              13
       2:17-cr-20037-JES-JEH # 107          Page 14 of 16



              Barnette's own testimony revealed his intention to murder
              Miss Williams. Accompanying this declaration, the jury also
              considered the evidence that Barnette purchased the
              shotgun, altered and modified the shotgun, and obtained
              bolt cutters, shotgun shells, and a crowbar, gathering these
              items in a bag he used when he went to see Miss Williams.
              Barnette stated that during the period of a week or a week
              and a half after he bought the shotgun, he “thought about
              going to Roanoke and killing Robin and killing myself.” He
              hid the shotgun in his home during this period. Before
              entering Miss Williams' house, Barnette waited outside until
              he saw Miss Williams, and he then cut the phone lines to
              prevent a telephone call for help. He even had the wire
              cutters in his pocket to cut the phone line. Barnette
              specifically testified that he cut the phone lines because he
              “didn't want anyone to stop me.” As he approached the
              door to Miss Williams' house, Barnette fired the shotgun at
              the dead bolt in order to enter the residence. So Barnette's
              actions in the days and weeks before the murders are
              evidence that the murders were deliberately planned. We
              are of the opinion that the jury had ample evidence from
              which it could conclude that Barnette utilized substantial
              planning and premeditation in preparing his attack on Miss
              Williams.

       Unlike in Barnette, there is nothing in the government’s factual basis in this case to

indicate that Mr. Christensen planned and premeditated to cause the death of Y.Z. In

Barnette, the defendant gathered specific items (crowbar, shotgun, bolt cutters) in order to

facilitate the plan to kill a specific victim weeks in advance of the incident. In the

present case, even if the government’s allegation that Mr. Christensen planned to abduct

someone is true, there is no evidence pointing to the fact that there was substantial

planning and premeditation to specifically cause the death of said person.

       For the foregoing reasons, this Court should strike the “Substantial Planning and


                                              14
      2:17-cr-20037-JES-JEH # 107       Page 15 of 16



Premeditation” as a statutory aggravating factor from the government’s Notice of Intent

to Seek a Sentence of Death, and exclude all evidence or information proffered by the

government at the penalty phase relating to this aggravating factor.


             Respectfully submitted,

             /s/Elisabeth R. Pollock                  /s/ George Taseff
             Assistant Federal Defender               Assistant Federal Defender
             300 West Main Street                     401 Main Street, Suite 1500
             Urbana, IL 61801                         Peoria, IL 61602
             Phone: 217-373-0666                      Phone: 309-671-7891
             FAX: 217-373-0667                        Fax: 309-671-7898
             Email: Elisabeth_Pollock@fd.org          Email: George_Taseff@fd.org

             /s/ Robert Tucker                        /s/ Julie Brain
             Robert L. Tucker, Esq.                   Julie Brain, Esq.
             7114 Washington Ave                      916 South 2nd Street
             St. Louis, MO 63130                      Philadelphia, PA 19147
             Phone: 703-527-1622                      Phone: 267-639-0417
             Email: roberttuckerlaw@gmail.com         Email: juliebrain1@yahoo.com




                                           15
      2:17-cr-20037-JES-JEH # 107        Page 16 of 16



                              CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.

                                         /s/Elisabeth R. Pollock
                                         Assistant Federal Public Defender
                                         300 West Main Street
                                         Urbana, IL 61801
                                         Phone: 217-373-0666
                                         FAX: 217-373-0667
                                         Email: Elisabeth_Pollock@fd.org




                                           16
